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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Charlottesville Division

    ELIZABETH SINES, et al.,

                          Plaintiffs,                        No. 3:17-cv-00072-NKM

         v.                                                  JURY TRIAL DEMANDED

    JASON KESSLER, et al.,

                          Defendants.

                                        APPEARANCE OF COUNSEL

   TO:        The Clerk of Court and all parties of record

              I, W. Edward ReBrook, IV, Esq., am admitted to practice in this Court, and am counsel of

   record for Defendants Jeff Schoep, National Socialist Movement, and Nationalist Front in this

   case. I am also appearing herein as counsel for Defendants Matthew Parrott, Matthew Heimbach,

   and Traditionalist Worker Party.


                                                             Respectfully submitted,


                                                             /s/ W. Edward ReBrook, IV
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                                                             Virginia Bar ID No. 84719
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                                                             Counsel for Defendants Jeff Schoep,
                                                             National Socialist Movement,
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                                             Nationalist Front, Matthew Parrott,
                                             Matthew Heimbach, and Traditionalist
                                             Worker Party

   Dated: August 19, 2021




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on August 19, 2021, I filed the foregoing with the Clerk of Court

   through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

   in the case, as well as all ECF-registered pro se parties.

          I hereby further certify that on August 19, 2021, I served a copy of the foregoing on the

   following non-ECF pro se parties, via electronic mail, as follows:

   Richard Spencer                                        Robert “Azzmador” Ray
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          I hereby further certify that on August 19, 2021, I served a copy of the foregoing on the

   following non-ECF pro se party, via first-class mail, as follows:

   Christopher Cantwell (00991-509)
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                                                           /s/ W. Edward ReBrook, IV
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                                             Nationalist Front, Matthew Parrott,
                                             Matthew Heimbach, and Traditionalist
                                             Worker Party




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